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                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,

        Plaintiff,
                                                                  Case No. 12-20083-01-DDC
v.

LOS ROVELL DAHDA (01),

        Defendant.


                                  MEMORANDUM AND ORDER

        On September 4, 2020, the court denied in part and dismissed in part Los Dahda’s

Motion for Return of Property Pursuant to Federal Rules of Criminal Procedure 41(g), Seeking

Judicial Review Under 28 U.S.C. § 1331 and 5 U.S.C. § 702 (Doc. 2736). Mr. Dahda appealed.

This matter now comes to the court on pro se1 defendant Los Dahda’s Motion to Proceed In

Forma Pauperis (Doc. 2860).

        The court previously appointed counsel for Mr. Dahda. See Order Appointing Substitute

Counsel (Doc. 2491) filed July 10, 2018; Appointment of and Authority to Pay Court Appointed

Counsel (Doc. 256) filed June 18, 2012. Mr. Dahda therefore financially qualifies for in forma

pauperis status. See Fed. R. App. P. 24(a)(3). A defendant who previously qualified for

appointed counsel can proceed in forma pauperis without further authorization unless the court

certifies that the appeal is not taken in good faith or finds that the party is not otherwise entitled

to proceed in forma pauperis. See id. Mr. Dahda’s appeal appears to be in good faith, and he




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         Because Mr. Dahda proceeds pro se, the court construes his filings liberally and holds them to a
less stringent standard than formal pleadings drafted by lawyers. See Hall v. Bellmon, 935 F.2d 1106,
1110 (10th Cir. 1991). But the court does not assume the role of advocate for a pro se litigant. Id.
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appears to be entitled to proceed in forma pauperis. The court thus grants Mr. Dahda’s request to

proceed without prepayment of fees on appeal.

       IT IS THEREFORE ORDERED BY THE COURT THAT Los Dahda’s Motion to

Proceed In Forma Pauperis (Doc. 2860) filed October 13, 2020 is granted.

       IT IS FURTHER ORDERED BY THE COURT THAT the Clerk shall forward a copy

of this Order to the Tenth Circuit Court of Appeals.

       IT IS SO ORDERED.

       Dated this 19th day of October, 2020, at Kansas City, Kansas.

                                                       s/ Daniel D. Crabtree
                                                       Daniel D. Crabtree
                                                       United States District Judge




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